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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

______________________________________
PATRICK LOMBARDO, INDIVIDUALLY AND )                     CASE NUMBER:
ON BEHALF OF ALL OTHERS SIMILARLY )                      3:10-cv-00856-CSH
SITUATED,                             )
      Plaintiff                       )
v.                                    )
                                      )
FIRSTSOURCE FINANCIAL SOLUTIONS,      )
INC. and FIRSTSOURCE FINANCIAL        )
SOLUTIONS, LLC                        )
      Defendants                      )
_____________________________________ )                 JULY 20, 2011



                      STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. Rule 41(a)(1)(A)(ii), the plaintiff, Patrick Lombard,

through his attorney, and the defendants, Firstsource Financial Solutions, Inc. and

Firstsource Financial Solutions, LLC, through their attorney, hereby stipulate that the

claims of the above-entitled action shall be dismissed with prejudice, and without costs

or attorney’s fees.

                                          Plaintiff, Patrick Lombardo

                                            By:/s/ Daniel S. Blinn
                                            Daniel S. Blinn (ct 02188)
                                            Consumer Law Group, LLC
                                            35 Cold Spring Road, Suite 512
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                                            Defendants, Firstsource Financial Solutions,
                                            Inc. and Firstsource Financial Solutions, LLC

                                            By: /s/ Jonathan D. Elliot
                                            Jonathan D. Elliot (ct05762)
                                            Zeldes, Needle & Cooper, P.C.
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                                      CERTIFICATION

       I hereby certify that on this 20th day of July 2011, a copy of the foregoing
Stipulation of Dismissal was filed electronically and served by mail on anyone
unable to accept electronic filing. Notice of this filing will be sent by e-mail to all
parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing.
Parties may access this filing through the Court’s CM/ECF System.


                                              /s/ Daniel S. Blinn
                                              Daniel S. Blinn




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